Case 6:09-cr-00101-PGB-LHP Document 71 Filed 10/05/09 Page 1 of 2 PageID 147




                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

     UNITED STATES OF AMERICA

     vs.                                           CASE NO. 6:09-CR-101-ORL-19KRS

     CATHERINE WILSON

                                               ORDER

            This case having been considered by the Court on Report and Recommendation

     Concerning Plea of Guilty (Doc. No. 64, filed September 30, 2009) and no objection thereto

     having been filed, it is ORDERED:

            1.      The Report and Recommendation of the United States Magistrate Judge (Doc.

     No. 64) is ACCEPTED, AFFIRMED AND ADOPTED.

            2.      Defendant Catherine Wilson has entered a plea of guilty to Count One and

     Seven of the Indictment knowingly, intelligently and voluntarily. Such plea is accepted, and

     Defendant is adjudicated guilty of Count One and Seven of the Indictment.

            3.      Ruling on acceptance of the Plea Agreement (Doc. No. 61, filed September

     30, 2009) is deferred until the time of sentencing.

            DONE AND ORDERED at Orlando, Florida, this             5th    day of October, 2009.




     Copies to:
     Assistant United States Attorney
     Attorney for Defendant
Case 6:09-cr-00101-PGB-LHP Document 71 Filed 10/05/09 Page 2 of 2 PageID 148




     United States Marshal
     United States Probation
     United States Pretrial Services
     Defendant
     Courtroom Deputy
